Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page1of41

EXHIBIT 1
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 2 of 41

Achieving a
Constitutional Level of Medical Care
in
California’s Prisons

The Federal Receiver’s
Turnaround Plan of Action

June 6, 2008
Case 2:90-cv-00520-KJM-SCR

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Document 2827-1 Filed 06/17/08

Page 3 of 41

June 6, 2008

The Honorable Thelton E. Henderson
United States District Court
Northern District of California

450 Golden Gate Avenue

San Francisco, CA 94102

Dear Judge Henderson:

The February 14, 2006 Order Appointing Receiver (“Order”) requires the Receiver to “develop a
detailed Plan of Action designed to effectuate the restructuring and development of a
constitutionally adequate medical health care delivery system” (Order at 2:19-22). The Court’s
January 23, 2008, Order Appointing New Receiver further directed that I work with the Pro
Bono Special Assistant to the Court and a professional planner to “rework the . . . Plan of Action
so that it is a more useful leadership document” (page 5, emphasis added).

I am pleased to submit for your consideration my Turnaround Plan of Action for bringing prison
medical care services within California’s Department of Corrections and Rehabilitation
(“CDCR”) up to federal constitutional standards. Because this is a turnaround plan designed to
correct constitutional deficiencies in California’s prison health care system, the plan does not
contain action items for all components of the prison health care system. For example, the plan
does not contain goals focused on treatment of infectious disease, alcohol and drug programs,
palliative care, or public health. The Receivership is responsible for maintaining and developing
all of these components, and the absence of these components from this plan is not intended to
suggest a lack of attention on these elements of a comprehensive health care system. However, in
terms of selecting priorities for initial investment of resources, these components are not as
critically in need of improvement. Moreover, the improvements provided in the plan will in large
part address many needs in these areas.

The Court’s opinions in Plata v. Schwarzenegger and Coleman v. Schwarzenegger, and the
orders in Perez v. Tilton and Armstrong v. Schwarzenegger, document and reflect pervasive,
fundamental organizational weaknesses and failures within CDCR that undermine its ability to

il
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 4of 41

provide constitutionally adequate health care services. Having been given control over CDCR’s
medical program, the Receiver’s job is to establish constitutionally adequate prison medical care
as quickly as practicable and in a way which will be sustainable after the Receiver winds down
operations and the responsibility for prison medical care reverts to the State. The Receiver is also
required to coordinate planning and activities with federal judicial oversight of CDCR’s mental
health, access to Americans with Disabilities Act services, and dental programs.

There is no great mystery about what needs to be done. Constitutionally adequate health care
occurs when patient-inmates are given

e timely access to competent medical and clinical personnel who provide effective
care informed by accurate patient records and supported by appropriate housing,
medical facilities, equipment and processes; and

e timely access to prescribed medications, treatment modalities, specialists and
appropriate levels of care,

The elements listed above have not routinely existed within CDCR’s medical delivery system.
Access has not been timely. The number of medical personnel has been inadequate, and
competence has not been assured. Accurate and complete patient records are often not available
when needed, Adequate housing for the disabled and aged does not exist. The medical facilities,
when they exist at all, are in an abysmal state of disrepair. Basic medical equipment is often not
available. Medications and other treatment options are too often not available when needed — to
be meaningful, access must be timely. This strategic plan establishes a three- to five-year
framework for addressing all of these problems.

Absent these foundational elements, health care within CDCR consists of chaotic, episodic and
often untimely encounters between patients and clinicians who, given the lack of reliable patient
information and support systems, are placed in a responsive position with no incentives or
feedback loops to encourage good medical practices. We need to transform the system to one in
which encounters are:

* proactive,

« planned,

¢ informed,

¢ patient-centered, and
+ professional.

Although it will take years to establish all of the necessary systems throughout the CDCR, we
cannot wait years to take some immediate steps to stop the avoidable mortality and morbidity
that exists within CDCR’s health care system. Accordingly, in addition to building a long-term
foundation for health care services, the Receiver must implement some programs immediately to
improve care even before the proper foundation has been put in place. Successfully
implementing these short-term programs will be challenging precisely because an adequate
health care infrastructure — the foundation for quality health care — does not presently exist.

iii
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 5of41

However, even if some of the early actions are not as comprehensively planned or executed as
would be desirable if we had the luxury of more time, these early steps will undoubtedly improve
CDCR’s health care system.

We have adopted six goals to focus our efforts. These goals, and their associated objectives and
action items, summarize the steps necessary for CDCR’s health care program to rise to
constitutionally acceptable and sustainable levels. The goals are as follows:

1. Ensure Timely Access to Health Care Services

2, Establish a Prison Medical Program Addressing the Full Continuum of
Health Care Services

3. Recruit, Train and Retain a Professional Quality Medical Workforce

4. Implement a Quality Assurance and Continuous Improvement Program
5. Establish Medical Support Infrastructure

6. Provide for Necessary Clinical, Administrative and Housing Facilities

There has already been significant progress on some of these goals (comprehensive status reports
appear in the quarterly reports which the Receiver files with the Court, reports that are on the
Receiver’s website at www.cprinc.org). For example, the recruitment of registered nurses has
dramatically improved as a result of increasing compensation to market levels and vastly:
improved recruitment practices. Similar success is just now being seen in the recruitment of
physicians. Substantial work has been completed at several prisons to improve conditions.
Overall, however, we are at early stages in fully implementing our goals.

The total costs for implementing this plan are substantial (see Appendix A). Bringing prison
medical care up to constitutional standards will require a significant investment of resources,
both one-time capital expenses and an increase in ongoing operational expenses. This is not a
good time to be putting additional demands on the state’s budget. But there simply is no choice.
The State of California has a constitutional obligation to improve its prison medical care system,
and I am convinced the only way to satisfy that obligation is by making substantial investments
today that will make up for 30 years of systematic under-investment in prison health care.

The Court’s Order calls for periodic reports to the Court concerning our remedial progress
(Order at 3:15-22). In addition to our Quarterly Reports, to keep the Court and public informed
of our progress, and to hold ourselves accountable for our progress, we will add a “Progress
Report” to the CPR website. The “Progress Report” will show how far along we are with each of
our goals and objectives (a timeline and list of proposed metrics appears in Appendix A). It will
be updated monthly.

iv
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 6 of 41

We are setting an aggressive time table for achieving our goals. The cooperation and support of
the Governor and Legislature, as well as of a multitude of state and local agencies, will be
required over the next several years. The Governor has personally committed to me his full
support, and I am confident that I can work with legislative leaders to support our efforts.

I look forward to working with you, Judge Reinhardt, Judge Karlton, Judge White, and Judge
Wilken as we endeavor to resolve California’s prison health care crisis.

Sincerely,

edd

Cc: The Honorable Stephen Reinhardt
The Honorable Lawrence K. Karlton
The Honorable Jeffrey S, White
The Honorable Claudia Wilken
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 7 of 41

Table of Contents
Visio sssssssscsscssssscsssssssssscssessesssssecsssnssseee sneesseeesenssecsnssaqeccrenscansesssonsensoonsonnsennssnsesesnes . wl
MUSSION w.ssssssscsssrssresesesscseecnsssenerensensconseeseeneesssoessoesonssoessescscsenssscsseassecetarsusenssssssuseenseeeseeseetes 2
Strategic Goalls ....ssssssssssssssssssssrssrevveccssssssssensssescesessssoessscessoesssnseersssnasssssessssesssssseseensensenses 4

Appendix A. Estimated Costs, Metrics & Timeline.........csssssssssssessseresssessssssssennssees 30
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 8 of 41

Goal 1.

Goal 2,

Goal 3.

Goal 4,

Goal 5.

Goal 6.

Summary of Goals and Objectives

Ensure Timely Access to Health Care Services
1.1. Screening and Assessment Processes
1.2. Access Staffing and Processes
1.3. Scheduling and Patient-Inmate Tracking System
1.4. Standardized Utilization Management System

Establish a Prison Medical Program Addressing the Full Continuum of Health
Care Services

2.1, Primary Care

2.2. Chronic Care

2.3. Emergency Response

2.4. Specialty Care and Hospitalization

Recruit, Train and Retain a Professional Quality Medical Care Workforce
3.1. Physicians and Nurses
3.2. Clinic Leadership and Management Structure
3.3. Professional Training Program

Implement a Quality Assurance and Continuous Improvement Program
4.1. Clinical Quality Measurement and Evaluation Program
4.2. Quality Improvement Programs
4.3. Medical Peer Review and Discipline Process
4.4. Medical Oversight Unit
4.5. Health Care Appeals Process
4.6. Out-of-State, Community Correctional Facilities and Re-entry Oversight

Establish Medical Support Infrastructure
5.1. Pharmacy
5.2. Medical Records
5.3. Radiology and Laboratory
5.4. Clinical Information Systems
5.5. Telemedicine

Provide for Necessary Clinical, Administrative and Housing Facilities
6.1. Upgrade Administrative and Clinical Facilities
6.2. Expand Administrative, Clinical, and House Facilities
6.3. Finish Construction at San Quentin State Prison
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 9 of 41

Vision

AS soon as practicable, provide constitutionally
adequate medical care to patient-inmates of the
California Department of Corrections and
Rehabilitation (CDCR) within a delivery system the
State can successfully manage and sustain.

A receivership is an extraordinary judicial remedy employed by a federal court only as a last
resort when all other attempts to secure compliance with court orders have proven futile.
Because it is such an extraordinary remedy, and because federal courts are instructed to employ
only as much equitable power as is necessary to cure a constitutional violation, it is incumbent
upon the Receiver in this case to move with all possible speed to establish a constitutionally
adequate prison medical care system. This is the Receiver’s primary order of business.

For the Court’s orders to be efficacious, the medical care system established by the Receiver
must be sustainable long after federal court supervision has ceased. It is not enough to simply
bring CDCR’s health care system up to constitutional minimums. The system created must be
one that the State itself will.be able to maintain long into the future. As the Court stated in its
October 3, 2005 Findings of Fact and Conclusions of Law Re Appointment of Receiver
(“Findings”), the purpose of the Receivership is to bring the delivery of health care in California
prisons up to constitutional standards and return a stabilized health care system back to the State
(Findings at 2:8-13). Therefore, sustainability of the system under State management and
control must be considered by the Receiver as we formulate our plans for building the
foundation.

The vision statement strongly reflects the litigation context that led to the Receivership’s creation
and that influences the Receivership’s planning, operations and termination. The vision
statement speaks in terms of constitutional standards for health care, and it recognizes the
boundaries of federal equitable relief. It is a vision grounded in a legal context.
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 10 of 41

Mission

Reduce avoidable morbidity and mortality and
protect public health by providing patient-inmates
timely access to safe, effective and efficient medical
care, and integrate the delivery of medical care with
mental health, dental and disability programs.

As noted above, our vision statement is grounded in the legal context giving rise to the
Receivership. Our day-to-day mission is of a very different quality. It is health care oriented and
patient centric in its perspective. The mission explains and restates in more concrete terms, and
from a health care perspective, what overall organizational and systemic changes the Receiver
must achieve to fulfill the vision.

In many respects, the mission is a simple one: Reduce avoidable deaths and illness by giving
patient-inmates: .

* timely access to competent medical and clinical personnel who provide effective
care informed by accurate patient records and supported by appropriate housing,
medical facilities, equipment and processes; and

e timely access to prescribed medications, treatment modalities, specialists and
appropriate levels of care.

Accomplishing the mission is a huge challenge only because of the current chaotic state of
CDCR’s medical delivery system. Timely access is not assured. The number of medical
personnel has been inadequate, and competence has not been assured. Accurate and complete
patient records are often not available when needed. Adequate housing for the disabled and aged
does not exist. The medical facilities, when they exist at all, are in an abysmal state of disrepair.
Basic medical equipment is often not available or used. Medications and other treatment options .
are too often not available when needed. Custody resources needed to facilitate access to care
and provide the security necessary to deliver health care safely in a prison setting are inadequate,
lacking both the personnel and structure to ensure timely access to health care services. Indeed, it
is a misnomer to call the existing chaos a “medical delivery system” — it is more an act of
desperation than a system.

This is not intended to be a criticism of the hard work done on a daily basis by thousands of
health care professionals within CDCR. The truth is that these professionals are struggling to
provide care in a chaotic environment where treatment encounters are largely episodic, accurate

2
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page11of 41

patient information is often not available and follow-up care cannot be taken for granted.
Adequate medical care requires much more than individual effort — it requires organizational
leadership, effective management, coordinated planning, and execution by health care and
custody teams, all of which has been lacking. More than anything else, this plan establishes a
roadmap to bring order to CDCR’s medical program:

moving from — chaotic care that is largely episodic, and consists of often untimely and
uninformed encounters between patients and clinicians;

movingto— a system of proactive, planned, informed, patient-centered, and
professional care.
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 12 of 41

Strategic Goals

As noted above, our mission is a simple one: Reduce avoidable deaths and illness by giving
patient-inmates .

e timely access to competent medical and clinical personnel who provide effective
care informed by accurate patient records and supported by appropriate housing,
medical facilities, equipment and processes; and

e timely access to prescribed medications, treatment modalities, specialists and
appropriate levels of care.

To fulfill this mission, our strategic goals focus on the following:

Ensure Timely Access to Care,

Improve the Medical Program,

Strengthen the Health Care Workforce,

Implement Quality Assurance and Continuous Improvement,
Establish Medical Support Infrastructure, and

Provide Health Care and Health Care-Related Facilities.

DAARwWN

These goals encornpass key aspects of CDCR’s health care delivery system. We are coordinating
our planning and implementation with CDCR’s mental, dental and health care accessibility
programs, and as we move increasingly from planning into execution, we should see
improvements in CDCR’s overall health care program.

A brief word about implementation strategy is warranted here. As reflected in this strategic plan,
the Receiver is undertaking an extraordinarily broad organizational change effort within CDCR’s
health care program. We are touching, changing and improving virtually every element of that
program -- and in many areas, creating capacity that does not exist at all today. In these
circumstances, a proven change methodology is essential. We have adopted, and will continue to
follow, the organizational change strategies suggested by the Institute of Medicine (Crossing the
Quality Chasm, A New Health System for the 21° Century, Washington D.C., National Academy
Press, 2001), strategies the Institute considers essential to safe, effective and efficient health care:

Redesign of care processes based on best practices.

Information technologies for clinical information and decision support.

Knowledge and skills management.

Development of effective teams.

Coordination of care across patient conditions, services and settings over time.
Incorporation of performance and outcome measurements for improvement and
accountability.

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Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page13 of 41

Goal 1. Ensure Timely Access to Health Care Services

Health care services are meaningful only if patient-inmates have timely access to appropriate
services. The initial assessment of health care needs occurs during the process of reception and
intake (where inmates first enter the CDCR system). The Receiver will redesign and standardize
this initial assessment process. Once within the CDCR system, access to health care will be
improved by creating health care access units to facilitate patient-inmate movement to on-site
clinics and to off-site care, and the Receiver will work with CDCR to speed the delivery of an
inmate scheduling and tracking system so that the health care system can properly locate patient-
inmates,

Objective 1.1. Redesign and Standardize Screening and Assessment
Processes at Reception/Receiving and Release

Intake screening and assessment is done inconsistently throughout the system. Medication
mishaps at reception alone are responsible for significant morbidity and mortality. Efforts at
some reception centers (e.g., San Quentin) have led to streamlined integration of medical, mental
health, and dental screening with more appropriate use of resources and improved quality of
care. Even at San Quentin, however, workflows will need to change in response to changes in the
pharmacy and laboratory processes as well as improved computer systems. There is a pressing
need to redesign and standardize reception center processes and ensure statewide
implementation. This standardization must be done prior to implementation of electronic record
systems. It will serve as a first step toward appropriate identification and assessment of high-risk
patients, development of utilization/case management systems, and facilitation of electronic
quality monitoring.

Action 1.1.1. By January 2009, develop standardized reception screening processes and
begin pilot implementation

Action 1.1.2. By January 2010, implement new processes at each of the major reception

center prisons

Objective 1.2. Establish Staffing and Processes for Ensuring Health Care
Access at Each Institution

Health care services are meaningful only if patient-inmates have timely access to those services.
In a correctional setting, issues of access are inextricably intertwined with control and
supervision of inmate movement by custody staff. System-wide, CDCR lacks the custody staff
and organizational structure and processes to ensure that patient-inmates are reliably escorted
and/or transported to medical appointments. As a result, patient-inmates are often denied timely
access to health care services, substantially increasing the risk that patient-inmates’ health will
further deteriorate and increasing the overall costs of providing health care services.
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 14 of 41

To ensure timely access, CDCR will establish dedicated health care access custody teams — to be
known as “Health Care Access Units” — at each institution whose primary mission will be to
ensure access to health care, both in-prison and out-of-prison, consistent with professional
standards of custody management.

Action 1.2.1, By January 2009, the Receiver will have concluded preliminary assessments
of custody operations and their influence on health care access at each of CDCR’s
institutions and will recommend additional staffing, along with recommended changes to
already established custody posts, to ensure all patient-inmates have improved access to
health care at each institution

The Receiver has already concluded preliminary assessments at over two-thirds of CDCR’s
institutions. The institutions are working closely with the Receiver and are embracing the
concept of Health Care Access Units in response to the Receiver’s recommendations. We
expect the preliminary staffing review relating to health care access operations inside all the
institutions to be completed by January 2009.

Action 1.2.2 By July 2001, the Receiver will have fully implemented Health Care Access
Units and developed health care access processes at all CDCR institutions

Ensuring access requires more than just staffing Health Care Access Units. Currently there
are no standard policies, processes or procedures for how those units would actually ensure
that a patient-inmate gets timely access to health care. In the corrections context, those
policies and procedures must be developed to ensure that transport is accomplished in a safe
and efficient manner. In addition, we must develop standards and processes for measuring
our performance on access to care.

The Receiver will develop policies and measurement approaches that are appropriate to the
type of institution and access that is needed. For example, access procedures will certainly
differ depending upon whether the need for access arises in a reception context or involves
sick call, chronic care, specialty care, infirmary care or acute care.

‘The staffing, organizational structure and operational policies and procedures for Health Care
Access Units will be fully developed and implemented at all CDCR institutions by July 2011,
contingent upon recruiting and training sufficient numbers of correctional officers to fill the
new health care access posts.

Objective 1.3. Establish Health Care Scheduling and Patient-Inmate
Tracking System

The Health Care Access Units created pursuant to Objective 1.2 will be most effective when
there is a health care scheduling and patient-inmate tracking system. Currently there is no system
in place that efficiently and effectively is able to schedule medical appointments and track the
location of patient-inmates as a medical appointment approaches. The result is an enormous
waste of precious clinical treatment slots as large numbers of appointments are missed, either
because conflicts develop on the calendar or, more frequently, because the patient-inmate is
moved without timely notification to the health care provider. The Receiver needs to implement

6
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page15of 41

a health care scheduling system encompassing medical, mental and dental which is linked with a
patient-inmate tracking system.

Action 1.3.1, Work with CDCR to accelerate the development of the Strategic Offender
Management System with a scheduling and inmate tracking system as one of its first
deliverables

The Legislature has already approved and provided funding for CDCR to develop the
Strategic Offender Management System (“SOMS”). SOMS will provide an automated
system to replace manual paper files and improve and standardize population management
practices statewide. It will also consolidate the functionality of multiple existing inmate and
parole automated systems into a single integrated solution with an enterprise database.
CDCR is nearing completion of the work to release an RFP.

The SOMS project includes an adult offender tracking system which, with appropriate
modifications, could satisfy the Receiver’s needs for a healthcare tracking and scheduling
system. Recently, the Receiver and CDCR agreed to explore whether, with the Receiver’s
assistance, CDCR could deliver the inmate scheduling and tracking system on a significantly
‘accelerated time table. This approach will avoid the expense and added complexity of having
the Receivership acquire a separate scheduling and tracking system.

Objective 1.4. Establish A Standardized Utilization Management System

Utilization management (UM) aims to ensure appropriate access to specialty services, infirmary
beds, and hospitalization. The Receiver’s centralized utilization management system will
provide interdisciplinary, criteria-based decision-making based on patients’ illness and needs,
supported by information technology and a data analysis unit. As part of this development
effort, the Receiver will accelerate current efforts to ensure that patients have appropriate access
to needed care. The first step will be to undertake statewide medical bed sweeps to identify those
patients who have needs that cannot readily be met in their current location. We anticipate
discovering a large population of patients who have long-term care needs, and to provide a
destination for those patients pending construction of the permanent long-term chronic care
facilities described in Goal 6, we will increase long-term care capacity at an existing facility.

Action 1.4.1, By January 2009, open long-term care units at one facility as a pilot praject
to assist in developing plans for other long-term chronic care facilities

Initiate a long-term chronic care pilot at California Medical Facility by converting one
Outpatient Housing Unit to a Correctional Treatment Center and by converting two General
Population Units to Outpatient Housing Units.

Action 1.4.2. By October 2010, establish a centralized Utilization Management System

The Utilization Management System will facilitate interdisciplinary, criteria-based decision-
making based on patients’ illness and needs, supported by information technology and a data
analysis unit.
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 16 of 41

Goal 2. Establish A Prison Medical Program Addressing The Full
Continuum of Health Care Services

The following is a simplified schematic of the prison medical care system:

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Considerable work remains to be done in each of these domains as well as in others not shown,
e.g., receiving and release, each of the clinical disciplines, and the custody, information
technology, and other support functions discussed elsewhere in this document. Goal 2 addresses
primary care, chronic care, specialty and hospital care, and emergency response.

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Objective 2.1, Redesign and Standardize Access and Medical Processes for
Primary Care

In the prison system, access to primary care is generally through a “sick call” process. While the
sick call process would appear to be moré straightforward than reception, it too is plagued by
inconsistent local processes involving too many forms, handoffs, and opportunities for error.
Nurses and physicians often make decisions about patients without access to critical information
and past assessments and depend upon a downstream paper referral system for tests and follow-
up, a system that is inefficient and treacherous. Nursing protocols have lacked appropriate
review, revision, oversight and support. Harmful delays and disruptions in care often involve
errors in the sick call and follow-up process. The lack of any effective electronic scheduling and
tracking system makes it easy to “lose” patients and makes it difficult to measure compliance
with access-to-care standards. These system problems make it virtually impossible to provide
proactive, planned care to our patients.

Action 2.1.1, By July 2009, complete the redesign of sick call processes, forms, and staffing
models

Action 2.1.2. By July 2010, implement the new system in all institutions
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page17 of 41

Objective 2.2. Improve Chronic Care System to Support Proactive, Planned
Care

A review of all inmate deaths during 2006 revealed that 17% of those deaths (66 out of 381)
were preventable or possibly preventable if proper medical care had been provided. Of those 66
deaths, 18 (27%) were preventable, and 48 (73%) were possibly preventable.

The leading cause of preventable deaths during 2006 and 2007 were chronic conditions. In 2006
the leading cause was asthma, typically an acute asthma attack that was not properly treated (6 of
18 or 33%). The annual rate of death from asthma in California’s prisons in 2006 (35 per
million) was 250% higher than the annual rate of death from asthma in the general population
(14 per million).

The significantly higher rate of death from asthma in California’s prisons is attributable to basic
failures across the spectrum of chronic care, including failure of clinicians to follow published
guidelines and standards of care, failure of RNs to triage sick asthmatics to an MD, failure to
ensure timely follow-up, a failure to appreciate the volatility of symptoms, failure to ensure
timely follow-up, non-existent tracking systems, and a broken emergency response system,

The Receiver has taken steps to educate ail clinicians and custody personnel regarding the
seriousness of access to care for patient-inmates who are suffering from asthma. These include
death reviews, action against 62 practitioners, establishing statewide clinical leadership, and new
tools such as asthma medication guidelines.

These focused steps appear to have dramatically improved the problem of avoidable deaths from
asthma. According to preliminary analysis of deaths during 2007, there was only one possibly _
preventable death from asthma. However, the problem of improving chronic care plainly remains
since the leading cause of preventable and possibly preventable deaths in 2007 is another chronic
condition, cardiovascular disease.

Action 2.2.1. By April 2009, complete a comprehensive, one-year Chronic Care Initiative
to assess and remediate systemic weaknesses in how chronic care is delivered

A variety of systemic access-to-chronic-care failures contributed to the high number of
preventable deaths from asthma. In February 2008, the Receiver approved an initiative to
assess failures in chronic care and implement a program of remediation to address conditions
such as: cardiovascular disease, diabetes, immune system impairment (including HIV), liver
disease, and asthma. The remediation program will develop improved systems for managing
chronic illness, including use of team-based rather than physician-centric approaches, care
coordination across settings, performance measurement, and information technology.
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 18 of 41

Objective 2.3. Improve Emergency Response to Reduce Avoidable Morbidity
and Mortality

Each institution within CDCR has developed its own internal medical emergency response
system, and many of these systems do not meet community standards. As a result, CDCR
facilities are not uniformly prepared to handle basic medical emergencies resulting in failures of
care, delayed transport and poor outcomes for inmates and staff.

The basic elements of an emergency response system include:
e Planning and policy development,
¢ Training in emergency response, and
» Acquisition and placement of appropriate emergency response equipment.

Action 2.3.1, Immediately finalize, adopt and communicate an Emergency Medical
Response System policy to all institutions

The Receiver’s team has completed work on a new Emergency Medical Response System
policy. The policy clearly specifies the roles of the first responder, health care staff and
custody personnel in reacting to an emergency medical situation.

Within 60 days, that policy will be adopted, and the substance of the policy will be
communicated to all health care and custody staff to improve access to appropriate care in
emergency situations.

Action 2.3.2, By July 2009, develop and implement certification standards for all clinical
staff and training programs for all clinical and custody staff

Adoption of policy, the focus of Action 2.4.1, is only the first step in establishing a robust
emergency response system. For the policy to be effective, all clinical staff must receive
appropriate training in basic emergency response skills. The Recetver’s team will develop
and implement certification standards for emergency response including a requirement that
alt medical personnel be certified in CPR, one of the key components of effective emergency
response.

Action 2.3.3. By January 2009, inventory, assess and standardize equipment to support
emergency medical response

The final element in effective emergency medical response is the ready availability of
appropriate emergency medical equipment. This type of equipment is not uniformly available
at CDCR institutions. By July 2008, we will have completed an inventory and assessment of
EMR equipment within CDCR. By January 2009, we will have acquired standard EMR
equipment for all CDCR institutions.

10
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 19 of 41

Objective 2.4. Improve the Provision of Specialty Care and Hospitalization
to Reduce Avoidable Morbidity and Mortality

Specialty care and hospitalization of patient-inmates is generally provided by contract with
specialty care and/or hospital providers. Access is through transport to out-of-prison specialty
care providers and hospitals, or by utilizing telemedicine technologies. Objective 2.4 focuses on
the policy and contract aspects of providing specialty and hospital care. Access by transport is
the subject of Goal 1.3, and access by telemedicine is encompassed within Objective 5.5.

Action 2.4.1, By June 2009, establish standard utilization management and care
management processes and policies applicable to referrals to specialty care and hospitals

CDCR does not have standardized processes or policies for referral of patient-inmates to
specialty care providers or hospitals. The result is inconsistent access to specialty care and
hospitals that varies from institution to institution.

The Receiver’s clinical leadership will develop standardized processes and policies for
specialty care and hospital utilization.

Action 2.4.2 By July 2009, establish on a statewide basis approved contracts with specialty
care providers and hospitals

Contracts to provide specialty care and hospitalization services have generally been
negotiated on an institution-by-institution basis. The result has been inconsistent and weak
procurement practices and results, and a failure to benefit from the full range of specialty
service and hospital providers that are available on a statewide basis.

The Receivership will establish a specialty care and hospital provider contracting program at
a statewide level. This will result in more cost-effective contracts with specialty care and
hospital providers, as well as improved access to these services at CDCR facilities,

Action 2.4.3. By July 2009, ensure specialty care and hospital providers’ invoices are
processed in a timely manner

CDCR does not have a history of paying invoices in a timely manner. The cost of not being a
good purchaser who timely pays for services rendered includes providers simply refusing to
do business with CDCR. Although these problems with individual specialty providers or
hospitals usually get resolved, the inconvenience, administrative cost and delays interfere
with CDCR’s ability to secure timely, cost-effective specialty care and hospital services.

By July 2009, payment of specialty care and hospital provider invoices will be made on a
timely basis 98% of the time.

11
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 20 of 41

Goal 3. Recruit, Train and Retain a Professional Quality Medical
Care Workforce

CDCR has had great difficulty recruiting, training and retaining a professional quality medical
care workforce. The quality of care directly suffers. The Receiver will pursue three broad
initiatives to improve the quantity and quality of health care workers:

« Recruiting of physicians, nurses and other clinicians with a goal of filling 90% of
established positions,

¢ Establishing a professional training program, and,

+ Creating and staffing a health care leadership and management structure.

Objective 3.1. Recruit Physicians and Nurses to Fill Ninety Percent of
Established Positions

Action 3.L1, By January 2009, fill 90% of nursing positions

Medical care in the prison system is primarily mediated by the nursing staff. Faced with a
severe shortage of qualified nurses, during 2007, the Receiver converted the existing peace
officer Medical Technical Assistants (“MTAs”) to Licensed Vocational Nurses (““LVNs”)
and embarked upon an aggressive recruitment campaign to fill those positions. As of
February 2008, the vacancy rate for LVNs is approximately 29%. A stipulation between the
State and the Receiver was entered into in January 2008 that allows for the hiring of LVNs at
various rates within the salary range based on each LVN’s work experience. This change
should assist in bringing the LVN vacancy rate down considerably in the coming months.
Our target is a 10% vacancy rate by January 2009.

Action 3.1.2. By January 2009, fill 90% of physician positions

The severe shortage of competent medical personnel within CDCR extends to the ranks of its
primary care physicians. While increasing physician compensation in 2007 has resulted in
some improvement in CDCR’s ability to attract doctors, more needs to be done to reach the
target of having 90% of physician positions filled by January 2009.

The Receiver has recently given the green light to a substantial recruitment effort focused on
attracting quality physicians to CDCR. Results from the effort should be apparent in the
fourth quarter of 2008. Recruiting and retaining physicians in certain parts of the State — such
as certain areas of the central valley — will remain as challenging for CDCR as it currently is
for private sector health care providers. As noted elsewhere in this plan, the Receiver intends
to expand the utilization of telemedicine technologies to partially compensate for some of the
recruitment challenges we are sure to face.

12
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 21 of 41

Objective 3.2 Establish Clinical Leadership and Management Structure

Action 3.2.1. By January 2009, establish and staff new executive leadership positions

The Receiver has worked with the State Personnel Board to establish appropriate
classifications, first for Nurse Executives, then for Physician Executives. In coordination
with the Department of Personnel Administration, the Receiver recently engaged CPS
Human Resources Services to conduct a compensation survey to assist the Receiver in
determining appropriate compensation levels for these positions. The Receiver will meet with
DPA and other departments in the Executive Branch that employ nurses and physicians to
ensure that the Receiver’s approach to these classifications is coordinated with those other
departments, The Receiver intends to fill 90% of the Nurse Executive positions by January of
2009, The Receiver has also worked with the Special Master in Coleman, and the Court
Representatives in Perez and Armstrong to create a Chief Executive Officer (CEO) pilot
program. Health care services at each of the three pilot institutions will be administered by a
single CEO responsible for directing the entire health care program at the institution,
including medical, pharmacy, nursing, mental health and dental services.

Action 3.2.2. By January 2009, establish and staff regional leadership structure

The Receiver will analyze options for allocation of functions and responsibilities at three
levels: statewide, regionally and at the institution. It is important to identify those functions
that can most efficiently and effectively be performed by centralizing them statewide.
Likewise, coordination at the regional level is essential, particularly as the Receivership is
initiating fundamental change throughout the system.

Objective 3.3. Establish Professional Training Programs for Clinicians

Action 3.3.1, By January 2009, establish statewide organizational orientation for all new
health care hires and institution-specific clinical orientation through a nursing preceptor
or proctoring program

CDCR has no consistent orientation program or practice for its new health care employees,
and none of its individual facilities has a formalized preceptor or proctoring program. These
are basic elements in establishing a culture of organizational quality in a health care program.
In most health care settings, employees receive an introduction to the organization through a
standardized orientation process starting on day one of employment. The best practice is to
follow the organizational orientation with a comprehensive preceptor or proctoring program
(i.e., a “clinical orientation”) for clinical staff.

The Receiver has piloted the content and format for orientation at three CDCR institutions.
Based on participants’ feedback and lessons learned, the Receiver will roll out new
orientation programs to all institutions within a given region (i.e., Northern, Central and
Southern). This regional orientation approach allows us to include all 33 CDCR institutions
in the new orientation program by January 2009.

13
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 22 of 41

Beyond lacking orientation, CDCR clinicians have been working with little professional
support in remarkably dispiriting environments. Prisons are a vital part of the health care
safety net, along with public hospitals, community clinics, and the Veterans Health
Administration, and the Receiver has had success in recruiting clinical change agents into
CDCR. To retain these clinicians ahd to sustain improvements in quality, however, it is
critical to establish professional expectations and support. The Receiver has established new
programs for nurses, mid-level providers, and physicians and has begun to deploy web-based
decision support at the point of care.

Action 3.3.2. By January 2009, win accreditation for CDCR as a CME pravider recognized
by the Institute of Medical Quality and the Accreditation Council for Continuing Medical
Education

The new Continuing Medical Education Committee has been charged with infusing adult
education principles and evaluation throughout the system. The Receiver is also creating
formal leadership programs for deployment this year.

14
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 23 of 41

Goal 4. Implement Quality Improvement Programs

As noted above, the Institute of Medicine identified one of its six essential strategies for health
care transformation as “the incorporation of performance and outcome measurements for
improvement and accountability.” These measurements become the basis for a continuous
quality improvement program throughout the prison health care system. Development of this
program requires not only new policies and procedures, but a fundamental culture change and
the development of skills for clinicians, clinical units, institutions and the entire system to self-
assess and self-correct.

Objective 4.1. Establish Clinical Quality Measurement and Evaluation
Program

Sustaining a program of organizational improvement is possible only if organizational outcomes
are routinely measured, evaluated and analyzed.Then, steps must be taken to adjust
organizational resources, processes and practices to improve those outcomes. There must be
“feedback loops” that encourage best practices and a culture of accountability that discourages
noncompliant behavior. . Currently in CDCR, timely, accurate data about outcomes is virtually
non-existent and there is no quality management infrastructure in place.

Action 4.1.1. By July 2011, establish sustainable quality measurement, evaluation and
patient safety programs

The Receiver is now recruiting leadership for a new Quality and Safety Branch which will
support performance measurement, quality improvement and patient safety initiatives in
service of accountability and effectiveness. This group will be responsible for developing the
metrics by which performance will be assessed.

Quality measurement and evaluation depend upon access to timely, accurate and relevant
data. Today, the infrastructure for collecting that data simply does not exist within CDCR. As
various statewide information systems are developed, we will increasingly be able to report
on relevant outcome measures,

The ultimate goal, which may not be achieved for three years, is to develop balanced
scorecards showing each institution’s disease burden, utilization, staffing, access-to-care
measures, Clinical quality indicators and financial performance.

Action 4.1.2, By July 2009, work with the Office of Inspector General to establish an audit
program focused on compliance with Plata requirements

Working with the Receiver, Prison Law Office and the State’s representatives, the Office of
the Inspector General has begun to establish an audit process of clinical performance in
CDCR facilities. The process will be piloted in five facilities during the first six months of
2008. The results of the pilot will be used to improve the process. With the consent of the
Court, the inspection program will then be rolled out to all CDCR facilities.

15
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 24 of 41

Objective 4.2, Establish a Quality Improvement Program

Quality improvement is a hallmark of a well-run health care system. Using information from
measurement and evaluation systems (see Objective 4.1 above), as well as self-assessment and
other sources of ideas for improvement, the health care system works on a continuous basis to
improve both its efficiency and its outcomes. Improvements in clinical processes will also
require updating of clinical policies and procedures.

Action 4.2.1. By September 2009, train and deploy a cadre of quality improvement advisors
to develop model quality improvement programs at selected institutions.

Action 4.2.2, By September 2009, establish a Policy Unit responsible for overseeing review,
revision, posting and distribution of current policies and procedures.

As noted above, the ability to incorporate improvements into policies and procedures is key
to standardizing those improvements within an institution, and support the system’s ability to
implement those improvements, with adjustments as necessary, at other institutions.

Action 4.2.3. By January 2010, implement process improvement programs at all
institutions involving trained clinical champions and supported by regional and statewide
quality advisors

To build a culture of continuous quality improvement requires not only systems and
procedures, but also training and development of clinical and support staff. By January 2010,
the Receiver will have in place the leadership structure, including clinical champions at the
institutional level and quality advisors at the regional and statewide level, and will have
developed the capability and commitment of staff to implement a system-wide quality
improvement program,

Objective 4.3. Establish Medical Peer Review and Discipline Process to
Ensure Quality of Care

Peer review is the gold standard when it comes to maintaining and improving the performance of
health care professionals and the quality of care. Peer review is a process whereby medical
professionals evaluate the performance of other professionals in a health care organization and
provide remediation or, in the most extreme cases, limit or terminate privileges to practice within
the organization.

Action 4.3.1. By July 2008, working with the State Personnel Board and other departments
that provide direct medical services, establish an effective Peer Review and Discipline
Process to improve the quality of care

CDCR has not had an effective peer review and discipline program. As a result, there has
been little professional pressure or support to improve quality of care. Incompetent
practitioners have been allowed to remain paid state employees even after the CDCR has
removed their privileges to practice within the system.

16
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 25 of 41

Because peer review processes can lead to the suspension of privileges, and the conduct
giving rise to peer review can at times overlap with conduct that would support disciplinary
action, the Receiver will work with the State Personnel Board to establish a peer review
process that serves the dual goals of improving quality of care by having professionals
review each other’s practice and ensuring that the processes of peer review, if it leads to a
suspension or termination of privileges or to adverse discipline, are conducted fairly and
consistently with State law. The Receiver will coordinate this program with other
departments that provide direct medical services.

Working with the State Personnel Board, the Receiver intends to establish a peer review and
discipline program on a statewide basis by July 1, 2008.

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Objective 4.4. Establish Medical Oversight Unit to Control and Monitor
Medical Employee Investigations

‘Preliminary work has already begun on a pilot of the Medical Oversight Unit. An Investigation
and Discipline Coordinator currently monitors all healthcare investigative and disciplinary
activity. A statewide tracking system for health care-related investigations of misconduct by
health care and correctional staff has been implemented. Institutions are required to provide a
monthly Investigation and Discipline Audit Report on all cases involving medical employees.

Action 4.4.1. By January 2009, fully staff and complete the implementation of a Medical
Oversight Unit to control and monitor medical employee investigations

Physicians and nurses will be trained to do investigations. The Medical Oversight Unit will
be led by a Chief Medical Officer working with a lead nurse and reporting to the Clinical
Operations Branch Chief, who reports directly to the Receiver’s Chief Medical Officer. The
lead clinicians of the Medical Oversight Unit will be responsible for leading Central Intake
Unit discussions involving clinical incidents. Representatives from the Office of Internal
Affairs and the Employment Advocacy Prosecution Team will participate in those weekly
discussions. The Office of the Inspector General’s Bureau of Independent Review has
agreed to conduct independent oversight of the new units. The Medical Oversight Unit
commenced operation in January 2008.

Goals of the Medical Oversight Unit include:

- Improving patient safety by identifying and addressing misconduct among staff in the
CDCR medical care system; ,

« Reducing the potential of lawsuits by addressing misconduct in a thorough, timely
and judicious manner;

« Increasing the success of appropriate employee discipline, reducing the number of
overall appeals, enhancing settlement prospects and reducing civil litigation.

17
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 26 of 41

Objective 4.5. Establish a Health Care Appeals Process, Correspondence
Control and Habeas Corpus Petitions Initiative

Disputes can arise in individual cases whether or not there has actually been appropriate and
adequate access to care. As a result, health care organizations have processes to resolve patient
complaints regarding access to care.

In CDCR, patient-inmates concerned about their access to or the quality of medical care may file
an appeal pursuant to Title 15 of the California Code of Regulations and/or file petitions for a
writ of habeas corpus. However, CDCR lacks a coordinated system for tracking and responding
to complaints about access to care. Absent such a system, complaints about access are at risk of
being misplaced or mishandled.

Action 4.5.1. By July 2008, centralize management over all health care patient-inmate
appeals, correspondence and habeas corpus petitions

The first step in improving health care appeals is to consolidate the management of ail
appeals, correspondence and health care-related habeas corpus petitions. Consolidation has
the greatest potential to quickly improve how disputes about health care access are resolved.

By July 2008, we wiil have consolidated all patient-inmate health care inquiry functions
(including controlled correspondence, correspondence addressed to the Receiver, Prison Law
Office inquiries, Inmate Health Inquiry Hotline calls, Health Care Appeals and Petitions for
Writs of Habeas Corpus) into one unit and established more consistent, comprehensive and
timely inquiry response systems.

Action 4.5.2, By August 2008, a task force of stakeholders will have concluded a system-
wide analysis of the statewide appeals process and will recommend improvements to the
Receiver

To improve the consolidated system, we have established a task force of stakeholders
(including clinical staff, counsel and correctional staff) to conduct a system-wide analysis of
the current statewide appeals process. The task force is in the process of conducting an
analysis of the current system to determine best practices and make recommendations to the
Receiver for further improvements. Certain remedial programs (e.g., the transfer of Third
Level Appeals from custody analysts to health care analysts) are being implemented at this
time.

The Task Force’s report to the Receiver is due by August 2008.

Objective 4.6. Establish Out-of-State, Community Correctional Facilities and
Re-entry Facility Oversight Program

Thousands of CDCR prisoners are now being housed in out-of-state, community correctional or
re-entry facilities that are not subject to CDCR’s day-to-day control and management. The health
care of these prisoners remains a subject of concern to the Receiver.

18
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 27 of 41

Action 4.6.1. By July 2008, establish administrative unit responsible for oversight of
meilical care given te patient-inmates housed in out-of-stat, community correctional or re-

entry facilities

The Receiver will establish an administrative unit with responsibility for conducting medical

oversight of entities that, by contract with CDCR, house and care for CDCR inmates.

Oversight includes establishing clinical standards and health care staffing standards for out-—
of-state community correctional and re-entry facilities, managing contract modifications with

these entities to ensure compliance with remedial orders of the federal courts, and

establishing and implementing an inspection protocol and schedule. The oversight program

has been established and will be fully operational by July 2008.

19
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 28 of 41

Goal 5. Establish Medical Support Infrastructure

The Receiver’s primary attention in its first eighteen months has been to plan and begin
implementing the core elements of a medical program, which have included improving the
quantity and quality of medical and clinical personnel within the system and improving access to
care. As plans for those elements have materialized, it is now time to turn more attention to
planning and activities to improve the secondary services that surround and support health care
delivery systems. These secondary services include such things as:

* Pharmacy,

e Medical Records,

* Radiology Services,

» Laboratory Services, and,
* Telemedicine.

Objective 5.1. Establish a Comprehensive, Safe and Efficient Pharmacy
Program

There has been no effective management of CDCR’s pharmacy program. The predictable result
has been a huge waste of public funds which cuts into expenditures for other important aspects of
CDCR’s health care system. Ineffective acquisition practices have resulted in the State
overpaying for pharmaceuticals, and the failure to establish an approved formulary — a critical
first step in creating a program of managed care ~ has resulted in some of the most expensive
drugs being prescribed when less expensive, but equally efficacious, alternatives are available.

The Receiver has contracted with a nationally-known provider of pharmacy services, Maxor
National Pharmacy Services Corporation, to assist in establishing a comprehensive, modern
pharmacy program throughout CDCR. There are three key elements to the program:

» Establishing a drug formulary to standardize and improve quality of care at reduced
cost;

» Improving and standardizing pharmacy policies, practices and support at each
institution; and,

+ Establishing a central-fill pharmacy to manage inventory.

At the same time the system is experiencing increased access to care and a resulting higher
demand for pharmaceuticals, with proper management of the elements above (i.e., more cost-
effective acquisition of drugs, and system-wide cooperation and implementation of the drug
formulary), the pharmacy program is expected to achieve significant cost avoidance in
pharmaceutical expenditures. Expenditures are estimated to be $33 million lower in 2008 than
what costs would have been if the prior trends had been allowed to continue without change.

20
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 29 of 41

Action $.1,1. Continue developing the drug formulary for the most commonly prescribed
medications

One of the cornerstones of managing costs in a managed care system is utilization of a drug
formulary to guide physicians in selecting prescriptions. The Receiver has reconstituted a
revitalized CDCR Pharmacy and Therapeutics Committee (“P&T Committee”) that meets
monthly to review policies and procedures.

Among other things, the P&T Committee has begun to develop and adopt a standardized
CDCR Formulary. The P&T Committee has developed disease medication management
guidelines for the following common conditions:
« Hypertension and Hypertension Urgency
» Asthma (acute and chronic)
« Diabetes (type | and type 2)
Hyperlipidemia
HIV
Seizure (acute and chronic)
Hepatitis C (currently pending final approval)
Gastroesophageal Reflux Disease (GERD) / Peptic Ulcer Disease (PUD)
Schizophrenia (acute and chronic)
Chronic Obstructive Pulmonary Disease (COPD)

As a result of the initial implementation of this program, non-formulary costs per member
per month have declined in the last half of 2007 from $29.01 to $14.66, while formulary
costs per member per month have increased only slightly from $73.64 to $74.75 (while costs
for prescription drugs nationally rose 4.2% in 2007).

The P&T Committee will continue to conduct therapeutic category reviews as part of the
formulary program. The savings from this active management will be substantial. For
example, when data on drug utilization was collected and presented, the P&T Committee
immediately noticed that almost 70% of total statin purchases were for Lipitor (atorvastatin).
The P&T Committee decided in June 2007 to adopt simvastatin (generic Zocor) for the
CDCR drug formulary, Utilization of Lipitor dropped dramatically over the course of the
next several months, while utilization of simvastatin rose. This single decision has resulted in
a cost avoidance of more than $400,000 per month.

A clinical pharmacy service to assist health care providers with formulary compliance,
appropriate medication management and patient intervention has been developed and is
being extended to facilities statewide.

Action 5.1.2. By June 2009, improve pharmacy policies and practices at each institution
and complete the rollout of the GuardianRx system

Working closely with Maxor, the Receiver has taken a number of quick steps to improve the
operations of institution-based pharmacies. The Receiver will continue these system-wide
program improvements. —

21
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 30 of 41

Fully staffing the pharmacy function has been a top priority, The Receiver has approved 10
new pharmacist and 3 new technician positions. The number of registry pharmacists-in-
charge has been reduced from 10 to 6, and one site with no pharmacist-in-charge has been
staffed. In addition, personnel training and competency programs have been established to
ensure compliance with revised policies and practices.

Pharmacists and pharmacies do not work in isolation from the professionals who direct
patient care. To ensure coordination, the Receiver has established Pharmacy Nursing Liaison
staff to work with nursing leadership on medication management processes. This has resulted
in improved communication and coordination with nursing staff.

Maxor has started employing a pharmacy services “drop-in” operations team to provide
immediate, intensive attention to facilities experiencing significant pharmacy system issues.
To date, the drop-in teams have assisted 17 of the 33 prison facilities.

Finally, Maxor has now successfully rolled out the GuardianRx system as an interim
operating system in four prisons. By the end of 2008, GuardianRx will be functional in 26
prisons and in all facilities by June of 2009. Its statewide implementation will provide a
strong basis for improving pharmacy performance, enforcing policies and standards, such as
the formulary, managing pharmaceutical inventory and collecting reliable utilization data.

Action 5.1.3. By February 2009, establish a central-fill pharmacy

Building a central-fill pharmacy from which nearly all drugs will be acquired will
substantially improve CDCR’s ability to control and cost-effectively manage its drug
inventory and utilization. The Receiver is working with CDCR and the Department of
General Services on the development of sites for the proposed centralized pharmacy facility.
Maxor continues to develop the minimum specifications required and through the services of
DGS space planning and design teams, will work with property owners to develop a build-
out plan.

We expect the central-fill pharmacy to be operational by February 2009.

Objective 5.2. Establish Standardized Health Records Practice

CDCR lacks a uniform; standardized health information system and lacks functional centralized
oversight or management of health care recordkeeping. The Receiver is seeking external
assistance to establish an effective management system that ensures standardized health records
practice in the California prison system.

Action 5.2.1. By February 2009, create a roadmap for achieving an effective management
system that ensures standardized health records practice in all institutions

CDCR is in the initial planning stages for system-wide computerized patient information
systems for all inmates. If these systems are to be implemented in a timely and efficient
fashion, paper-based health records processes and clinical documentation at all CDCR
facilities will first need to be standardized and streamlined.

22
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 31 of 41

Objective 5.3, Establish Effective Radiology and Laboratory Services

Last year, the Receiver engaged consultants to assess CDCR’s medical records, radiology and
laboratory programs and to make recommendations for improvements. The report on laboratory
services is due to be received by mid-2008, The work on medical records is scheduled to begin
Spring 2008. The report on radiology services is due to be received by July 2008. After
reviewing these reports, the Receiver will decide upon a strategy to improve radiology and
laboratory services.

Action 3.3.1. By August 2008, decide upon strategy to improve medical records, radiology
and laboratory services after receiving recommendations from consultants

Objective 5.4. Establish Clinical Information Systems

CDCR’s information technology systems are a shambles, although there is real hope for the
future. Until fiscal year 2007-2008, there had been no strategic investment in CDCR’s
information systems for decades. As a result, CDCR did not have a statewide network, its
desktop systems and applications were not connected, and many of the critical applications were
nearing or already past their life expectancy. Last year, CDCR presented to the Legislature, and
the Legislature funded, a portfolio of information technology projects that promises to bring
CDCR’s information systems into the 21" century. The Receiver is closely coordinating his
activities with the development of these systems, many of which are of critical importance to the
delivery of health care.

Action 5.4.1, By July 2009, establish a clinical data repository available to all institutions
as the foundation for all other health information technology systems

Because the Receivership had already been created, CDCR did not propose to the Legislature
last year any core medical information technologies. The most important medical system is a
clinical data repository which will serve as the primary database for CDCR’s health care
system. It will be through the data repository that patient-inmate health records can be
established, radiology and laboratory results can be communicated, and the initial steps
towards building a digital health care system can be taken.

The Receivership is nearing completion of its statewide network infrastructure. We are also
nearing the award of a contract for an integrator to assist in implementing the medical data
repository. We expect the repository to be functioning by no later than July 2009.

Objective 5.5, Expand and Improve Telemedicine Capabilities

Telemedicine is being used very effectively by prison health care systems around the country.
CDCR is lagging far behind as a result of the absence of strong leadership to nurture the program
as’ well as insufficient telemedicine infrastructure to support a significantly expanded
telemedicine program.

23
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 32 of 41

Action 5.5.1. By September 2008, secure strong leadership for the telemedicine program to

expand the use of telemedicine and upgrade CDCR’s telemedicine technology
infrastructure

The Receiver will put in place strong leadership within the telemedicine program with a
direction to upgrade CDCR’s telemedicine technologies, assess and expand staffing as
appropriate and engage with the University of California system and others to establish a
vastly expanded telemedicine program.

24
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 33 of 41

Goal 6. Provide for Necessary Clinical,
Administrative and Housing Facilities

The facilities available for providing health care services within CDCR are woefully inadequate.
Through years of neglect, the facilities have long since passed the time when modest investments
could remedy the problem. We are dealing not with deferred maintenance, but with some
facilities that are literally falling apart. In addition, investments in health care facilities have
significantly lagged behind growing inmate populations, so much so that available clinical space
is less than half of what is necessary for daily operations.

The only cost-effective remedy is to improve and/or build new administrative and clinical
facilities at each of CDCR’s 33 prison locations to provide local health care services. These
facilities wili generally include clinical treatment space, medical administration space, medical
storage space and other medical support spaces such as pharmacy, medical records and medical
laboratories.

In addition to these local facilities, CDCR needs to establish seven regional long-term care
centers at existing CDCR institutions with administrative, clinical and housing facilities to serve
up to 6% of CDCR’s inmate population who have long-term medical and/or mental health needs.
Approximately three-quarters of the housing at these centers will consist of open dormitory
quality housing for patient-inmates with functional impairments or chronic conditions requiring
ready access to health care services,

Objective 6.1, Upgrade administrative and clinical facilities at each of
CDCR’s 33 prison locations to provide patient-inmates with appropriate
access to care .

Each of California’s prisons needs improved clinical space and clinical support space. The
Receiver’s “Construction Upgrade Program” involves undertaking assessments and planning at
each institution, followed by construction according to plans.

Action 6.1.1. By January 2010, complete assessment and planning for upgraded
administrative and clinical facilities at each of CDCR’s 33 institutions

Assessments and preliminary planning has already occurred at the following institutions:
* Avenal State Prison
+ Correctional Training Facility
« California Rehabilitation Center
*« Mule Creek State Prison

By August 2008, assessments and preliminary planning will have been completed at the
following institutions:
¢ California Institution for Men
* California Institution for Women
* Folsom State Prison
» California State Prison, Sacramento
25
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 34 of 41

e Richard J. Donovan Correctional Facility
« California Conservation Center
* High Desert State Prison

By March 2009, assessments and preliminary planning will have been completed at the
following institutions:

« Deuel Vocational Institution

« Sierra Conservation Center

¢ California Correctional Institution

- California State Prison, Los Angeles County

« Wasco State Prison — Reception Center

» California Men’s Colony

« Salinas Valley State Prison

« Pleasant Valley State Prison

By January 2010, assessments and preliminary planning will have been completed at the
following institutions:

* Chuckawalla Valley State Prison

» Ironwood State Prison

¢ California State Prison, Solano

¢ Calipatria State Prison

+ Centinela State Prison

+ California Substance Abuse Treatment Facility and State Prison at Corcoran

» California State Prison, Corcoran

* Valley State Prison for Women

* Central California Women’s Facility

« North Kern State Prison

* Kern Valley State Prison

» California Medical Facility

* Pelican Bay State Prison

The Receiver will closely coordinate its Upgrade Program with CDCR’s construction team.

Action 6.1.2. By January 2012, complete construction of upgraded administrative and
clinical facilities at each of CDCR’s 33 institutions

As plans are completed and funding is made available, upgrade construction projects will be
authorized by the Receiver. For each project, there will be additional detailed construction
planning that will be undertaken and additional pre-construction activities cleared. We
anticipate that once each prison upgrade project has been approved by the Receiver, it will
take another 18 to 24 months to complete the construction.

In light of the phased assessments and planning described in Action 6.1.1, construction at
multiple facilities around the State should commence no later than September 2008. By the
July 2009, we should have construction activities taking place in a dozen or more prisons,
and this level of construction will continue until the Construction Upgrade Program is
complete, which we are targeting for January 2012.

26
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 35 of 41

Objective 6.2. Expand administrative, clinical and housing facilities to serve
up to 10,000 patient-inmates with medical and/or mental health needs

As a core component of the plan to bring the level of prison health care services up to
constitutional standards as quickly as practicable, the Receiver will supervise the creation of
expanded prison health facilities and housing for approximately 6% of CDCR's existing inmate
population (i.e., approximately 10,000 inmates) whose medical and/or mental condition requires
separate housing to facilitate appropriate, cost-effective access to necessary health care services.

CDCR does not have adequate clinical, administrative and housing facilities to support
constitutionally adequate health care. Reports by ABT Associates Inc. and Lumetra on chronic
and long-term care needs in California’s prisons and by Navigant Consulting on mental health
needs demonstrate the inadequacy of current facilities and document the need for expanded
facilities to serve both present and future populations. Based on these reports, the Receiver will
supervise construction of facilities at existing institutions to serve 10,000 inmates with medical
and/or mental health needs.

Approximately half of the housing and facilities will be for medical services, of which
approximately three-quarters will consist of open-space dormitories for "specialized general
population" patients who have functional impairments and chronic conditions requiring ready
access to health care services (e.g., advanced chronic obstructive lung disease, or wheel chair
bound patients with spinal chord injuries). Approximately eighteen percent will consist of
assisted-living-quality housing for "low acuity" patients who have nursing needs (e.g., wheel
chair with wounds that need routine dressing, or stroke patients who need help dressing), and
less than ten percent will consist of nursing-home-quality housing for “high acuity" patients (e.g.,
patients with complicated wounds that need nursing attention daily, pre/post transplant, patients
undergoing chemotherapy, and patients who are completely bed bound).

The other half of the housing and facilities will be for mental health services. Approximately
seventy percent of this housing will consist of open-space dormitories for an “enhanced
outpatient program,” eighteen percent will be for high-custody enhanced outpatients, and less
than fifteen fourteen percent will be for a mix of mental health crisis beds, acute beds, an
intermediate care facility and a high-custody intermediate care facility.

The Receiver intends to supervise construction on ‘up to seven sites at existing CDCR
institutions, each site supporting medical and mental health services for up to 1,500 inmates.
Two of the facilities will be specially designed to serve the unique health needs of CDCR’s
female population. Because existing facilities are operating well beyond their design capacity for
all systems, the new facilities will be designed to be self-sufficient, full-service institutions for
both infrastructure and support service facilities such as food service, laundry and central plant.

The initial planning focus has been almost exclusively on the facilities themselves. Planning for
the operation of these long-term, chronic care facilities is just now getting underway. We expect
to present to the Administration and the Legislature preliminary estimates of operational costs in
time for initial consideration for the 2009-2010 fiscal year.

We will complete this objective by July 2013.

27
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 36 of 41

Action 6.2.1. Complete pre-planning activities on all sites as quickly as possible

In order to complete the construction as quickly as practicable, a great deal of the planning
for all of the sites will be front-loaded and done in parallel. For each of the sites, the
following pre-construction planning activities must be completed:

1. Site assessment and selection.

2. CEQA review and evaluation.

3. Infrastructure review and development of remediation plans.
4. Facility planning.

5. Program delivery.

6. Obtaining funding.

7.

Development of Program Management Plan.

Action 6.2.2. By February 2009, begin construction at first site

The key to hitting our 2013 target date for completing this objective is the commencement of
construction at the first site no later than February 2009, with construction completed at that
site no later than February 2011.

Since it is unknown which sites will pose what obstacles, and how quickly those obstacles
can be overcome, we are pursuing preliminary planning on all sites. Whichever site is first
ready for the commencement of construction will be where we begin.

Action 6.2.3. By July 2013, complete execution of phased construction program

Construction contracts will be awarded for the project at the first site in January 2009,
followed by projects No. 2 and No. 3 which will roll out in three-month increments, with
contract awards by April 2009 and July 2009. Because of concerns for construction industry
capacity for projects of this size, the remaining four projects will roll out in six-month
increments, with the seventh project awarded by July 2011 and completed by July 2013.

Objective 6.3. Complete Construction at San Quentin State Prison

There are a number of essential construction projects already underway at San Quentin State
Prison, including establishing new, improved sick call units in facility rotundas, building a
temporary medical building to provide needed clinical offices and space, constructing a medical
supply warchouse, and constructing the San Quentin Central Health Services Facility, a state-of-
the-art correctional health care center.

Action 6.3.1. By December 2008, complete all construction except for the Central Health
Services Facility

A substantial amount of the San Quentin improvements has already been completed,
including replacing parking spaces, relocation of the “walk alone” exercise yards, renovating

28
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 37 of 41

the Trauma Treatment Area, limited upgrades to certain clinics, a minor remodel of the
medical records unit and receiving and release areas, and addition of a triple-wide relocatable
trailer to provide office space for medical care delivery personnel.

Other construction activities will be complete by December of 2008, including construction
of new’ personnel offices and a medical supply warehouse, expansion of clinical sick call
units and the addition of a primary care / specialty medical services modular.

Action 6.3.2, By April 2010, complete construction of the Central Health Services Facility

Demolition of existing buildings is well under way, and construction of the Central Health
Services Facility is expected to begin in April 2008. The building will be ready for
occupancy by April 2010.

29
Case 2:90-cv-00520-KJM-SCR Document 2827-1 Filed 06/17/08 Page 38 of 41

Appendix A
Estimated Costs, Metrics and Timeline

The Strategic Plan contains six major goals:

1. Ensure Timely Access to Care;

2. Improve the Medical Program;

3, Strengthen the Health Care Workforce;

4. Implement Quality Assurance and Continuous Improvement;
5. Establish Medical Support Infrastructure; and,

6. Build Health Care and Health Care-Related Facilities.

The one-time capital cost for the Healthcare Improvement and Healthcare Facility Expansion

_ projects is estimated to be $7 billion. These projects will be funded through lease revenue bonds
over a 25 year period. The debt service for these bonds will begin in Fiscal Year 2010-11 and
will reach the full annual amortized payment of $585 million by Fiscal Year 2013-14.

The one-time support costs for the plan are approximately $253 million over a three-year period.
Of this amount, $24 million is already included in the $1.84 billion medical budget for Fiscal
Year 2008-09. This leaves only $229 million in additional one-time funding that will need to be
requested at this time.

The total ongoing costs for the plan are approximately $287 million. Of this amount, $248
million is already included in the $1.84 billion medical budget for Fiscal Year 2008-09. This
leaves only $39 million in additional funding that will need to be requested at this time.

There remains only one significant gap in our cost estimates. We have not yet estimated costs for
operating the long-term, chronic care facilities. The operational planning for those facilities is
just now getting underway, and until that planning is much further along, attempting to estimate
operational costs is not feasible. Given the size of the facilities, we can expect the annual
operational costs to be substantial, but until the detailed planning has been done, it simply is not
possible to give a credible estimate of these costs.

We are including in the tables which follow our preliminary set of metrics by which to measure
our progress. For each objective and action, we will establish and report “project” metrics (e.g.,
schedule, scope and cost). For some actions, we already are ready to report more substantive
inetrics that assist in assessing the performance or value of the program in achieving fundamental
organizational goals (e.g., vacancy and retention rates for recruitment objectives). We will
continue developing these substantive metrics as appropriate information on program
performance becomes more readily available.

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